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                            UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


                               MINUTES OF PROCEEDINGS
 NEWARK                                                          DATE: April 26, 2018
 COURT REPORTER: Joanne Sekella
 DEPUTY CLERK: Carmen D. Soto                                    Docket #09-1303
 TITLE OF CASE: UNITED STATES v. MATTHEW HULL, ET AL.
 Appearances:
 Michael Campion, Esq. for the Govt


 NATURE OF PROCEEDING: MOTION/SHOW CAUSE HEARING

 Defts failed to appear.
 Hearing on Pltf’s Second Motion for an Order to Show Cause as to why Deft’s should not be
 found in Contempt of Court [Dkt. No. 126];
 Ordered motion granted;
 Order to be submitted.




 Time Commenced:      11:15 a.m.
 Time Adjourned:      11:25 a.m.
 Total Time:          10 mins.

 Cc: Chambers                                      Carmen D. Soto
                                                   Deputy Clerk
